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MDL
EXHIBIT
1-B

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benefits to an estimated 70 percent of the
197,869,000 persons in the United States who are
covered by private medical insurance. The SHPs
brought a separate complaint against the defendants.
The SHPs are not associated as a class and have
settled in their individual capacities with the
defendants. The SHPs agreement is before the court
for informational purposes only.

FN22. The term SHPs is common to both
agreements.

The second agreement, which has been presented for
the court's approval, is between the defendants and
the “Lupron® Purchaser Class.” This class consists
of consumer-purchasers and TPPs that are not part of
the SHPs settlement. The class TPPs consist
primarily of self-insured employers and Taft-Hartley
benefit plans. The SHPs are explicitly excluded from
the Lupron® Purchaser Class.

The Proposed Settlement

The total amount allocated between the two
settlement agreements is $150 million. Of this sum,
$40 million is earmarked for the claims of individual
consumers, while $55 million is initially allocated to
the claims of the TPP class members, and an
additional $55 million to those of the SHPs.
Attorneys' fees and expenses are subtracted from
each pool, with the SHPs paying their own fees and
costs, and the members of the Lupron® Purchaser
Class paying the fees and costs of class counsel in
proportion to the ultimate amounts awarded to
consumer-purchasers and class TPPs. The first $1
million in notice and claims expenses is to be borne
by the class TPPs; thereafter the TPPs and the
consumer-purchasers are to bear their respective
costs in processing any remaining claims. Incentive
payments to class representatives will be borne
separately by each funding pool. Any unclaimed
surplus in the consumer pool will not revert to TAP,
but will be distributed by the court at its
discretion™ TAP is, however, entitled to a refund
from the TPP pool in proportion to the value of the
claims of those TPPs that opt out of the class
settlement.

FN23. If the court designates a charity as the
recipient of any surplus funds, the
Settlement Agreement permits TAP to take a
corresponding tax deduction.

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A mechanism is also provided to adjust the division
of funds between the class TPPs and the SHPs
depending on claims experience. To the extent that
the SHPs group accounts for more than 50 percent of
the eligible claims, it will receive a proportionate
contribution from the class TPP pool, net of
expenses, attorneys’ fees, and the deduction for opt
outs from the TPP class. Conversely, if the SHPs
group accounts for less than 50 percent of the eligible
claims, the TPPs will take a proportionate share of
the SHPs pool, to a maximum of $15 million By
way of example, if 70 percent of the approved claims
*87 originate from the SHPs group, it will be entitled
to an additional $22 million (20 percent) of the $110
million allocated between the SHPs and the class
TPPs, net of fees, expenses, and opt out deductions.

FN24. To insure payment of this $15
million, the SHPs will initially distribute
only $40 million in claims, and will place
the remaining $15 million in escrow until
the claims of all SHPs and class TPPs are
processed.

Consumer-purchasers are entitled to recover 30
percent of their total out-of-pocket payments for
Lupron®, or $100, whichever is greater, unless the
total amount of claims exceeds the amount allotted to
the consumer pool. If the pool is depleted, pay-outs to
consumers will be reduced on a pro rata basis. MDL
counsel estimate that after payment of expenses and
attorneys’ fees, $27.5 million will be available to the
consumer-purchaser class, an amount that MDL
plaintiffs' counsel believe will be sufficient to pay all
claims in full. On the other hand, because the TPP
class may experience a higher claims rate, in the
event its fund pool becomes oversubscribed the class
through its representatives has agreed to share the
funds available on a pro rata basis according to each
TPP's purchase of Lupron® in 2000-2001. A
representative sample method was chosen to avoid
the expense involved in recreating twenty years of
purchasing data.

According to the analysis of MDL plaintiffs expert,
Dr. Raymond Hartman, the allocation of the
settlement funds is deliberately weighted to favor the
consumer-purchaser class over the SHPs and the
class TPPs. (Hartman Decl., at 1-2). By Dr.
Hartman's calculation, the average spread
(AWP/ASP) was 182 percent between 1993 and 2000
(the years for which reliable data is available).

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(Hartman Decl. at 15.) Assuming that an AWP/ASP
percentage spread of 125 percent (the “but-for
spread”) would be expected by the market, the
difference between the actual and the but-for spread
in the years analyzed by Dr. Hartman is 57 percent.
This “unreasonable” 57 percent excess in the spread
amounts to approximately 30 percent of the actual
spread, explaining Dr. Hartman's opinion that a 30

ercent of AWP recovery to consumers is reasonable.
25, FN26

FN25. As an example, a 30 percent claims
reimbursement pegged to an AWP of $182
would result in a recovery of $54.60
(roughly equivalent to the presumed
overcharge of $57).

FN26. Dr. Meredith Rosenthal, an MDL
plaintiffs’ expert who testified at the final
approval hearing, points out that while
consumer claims most likely account for 9
to 13 percent of the total overcharges (with
extremes of 7 to 25 percent), consumers will
receive 27 percent of the settlement. Dr.
Rosenthal and Dr. Hartman believe that
consumer damages over the period from
1991 to 2001 amounted to some $166
million. Of this amount, $150 million was
borne by Medicare patients making out-of-
pocket or coinsurance payments, and $16
million was borne by consumers paying
coinsurance in a private context. Both
experts are of the opinion that the
overcharge for private consumers was
around 30 percent, whereas for Medicare
patients it was around 45 percent, because of
the difference in what they consider to be
the baseline. The but-for price for Medicare
(that is, what Medicare patients would have
paid absent the inflation) they set at the
ASP, whereas the but-for price in the private
context they set at 80 percent of the AWP.
Both experts, however, consider a 30
percent recovery to be a _ reasonable
approximation of the economic damages to
the class members.

CLASS CERTIFICATION

Rule 23(a) sets out several prerequisites for a class
action. A class may be certified only ift

(1) the class is so numerous that joinder of all
members is impracticable; (2) there are questions of

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law or fact common to the class; (3) the claims or
defenses of the representative parties are typical of
the claims or defenses of the class; and (4) the
representatives will fairly and adequately protect the
interests of the class.

Fed.R.Civ.P. 23(a).

Plaintiffs seek to certify a class pursuant to Rule
23(b\(3). This section provides that a class action
may be maintained only if, in additional to the
prerequisite of Rule 23(a):

the court finds that the questions of law or fact
common to the members of the class predominate
over any questions affecting only individual
members, and that a class action is superior to other
available methods for the fair and efficient
adjudication of the controversy. The matters pertinent
to the findings include: (A) the interest of members
of the class in individually controlling the
prosecution or defense of separate actions; (B) the
extent and nature of any litigation concerning the
controversy already commenced by or against
members*88 of the class; (C) the desirability or
undesirability of concentrating the litigation of the
claims in the particular forum; (D) the difficulties
likely to be encountered in the management of a class
action.

Fed.R.Civ.P. 23(b)(3).

[21[3] “A district court must conduct a rigorous
analysis of the prerequisites established by Rule 23
before certifying a class.” Smilow_v. Southwestern
Bell Mobile Sys., Inc., 323 F.3d 32, 38 (1st Cir.2003).
In “determinating the propriety of a class action, the
question is not whether the plaintiff or plaintiffs have
stated a cause of action or will prevail on the merits,
but rather whether the requirements of Rule 23 are
met.” Waste Met. Holdings, Inc. v. Mowbray, 208
F.3d_ 288, 298 (ist _Cir.2000) (quoting Eisen_v.
Carlisle & Jacquelin, 417 U.S. 156, 178, 94 S.Ct.
2140, 40 L.Ed.2d_ 732 (1974) (internal citation
omitted)). In the settlement context, however, there is
an important refinement to the Rule 23 analysis: the
court “need not inquire whether the case, if tried,
would present intractable management problems.”
Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620
LI7_S.Ct. 2231, 138 L.Ed.2d 689 (1997). When a
settlement class is proposed, it is incumbent on the
district court to give heightened scrutiny to the
requirements of Rule 23 in order to protect absent
class members."*?’Amchem, 521 U.S. at 620, 117

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S.Ct. 2231. This cautionary approach
notwithstanding, the law favors class action
settlements. City P'ship Co. v. Atl. Acquisition Ltd.
P'ship, 100 F.3d 1041, 1043 (1st Cir,1996).

FN27. The heightened scrutiny rule is a
byproduct of the controversy over the
concept of a settlement class, a litigation
device that was initially viewed with deep
suspicion by courts and commentators who
feared (not without justification) that it
invited collusion between defendants and
fee-hungry lawyers. Judge Becker
summarizes the arguments for and against
settlement classes in his seminal decision on
the subject, Jn_re General Motors Corp.
Pick-Up Truck Fuel Tank Prods. Liab.
Litig., 55 F.3d 768, 787-792 (3d Cir.1995).

(a) Numerosity

[4] The class easily meets the Rule 23(a) requirement
that “the class [be] so numerous that joinder of all
members is impracticable.” While the mortality rate
associated with prostate cancer, coupled with the
extended class period, makes it impossible to predict
the size of the class to any degree of mathematical
certainty, the class includes thousands of TPPs and
tens if not hundreds of thousands of consumer-
purchasers or their estates.

(b) Commonality

[5] While at least one common issue of fact or law at
the core of the action must shape the class, Rule 23(a)
does not require that every class member share every
factual and legal predicate of the action. /n_re
General Motors Corp... 55 F.3d at 817. “The
threshold of ‘commonality,’ is not high. Aimed in
part at ‘determining whether there is a need for
combined treatment and a benefit to be derived
therefrom,’ the rule requires only that resolution of
the common questions affect all or a substantial
number of the class members.” Jenkins v. Raymark
Indus., Inc. 782 F.2d 468, 472 (Sth Cir.1986)
(citation omitted). In this case, there are a number of
common issues of fact and law that the class
members would be required to establish to prove the
defendants' liability, as well as their entitlement to
damages. All class members would need to establish
that (1) they purchased Lupron® (2) at a price
derived from a fraudulently inflated AWP (3)

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published by defendants as part of a concerted
marketing scheme involving, inter alia, the provision
of “free” samples, rebates, debt forgiveness, junkets,
and “education grants” (4) that was intended to
funnel hidden profits to doctors (5) as an inducement
to prescribe Lupron® instead of less expensive
alternatives like Zoladex®. The class would also be
required to prove scienter on defendants’ part, as well
as complicity on the part of physicians and clinics
who billed members directly or through their insurers
at a price derived from the inflated AWP. The civil
RICO statute (the mainstay of the Consolidated
Amended Complaint) would require the class to
prove as a matter of fact and law that defendants (1)
conducted (2) an enterprise (either a legal entity or an
association in fact) (3) through a pattern (at least two
*89 related acts) (4) of racketeering
activity.”\*Sedima, S.P.R.L. v. Imrex Co., Inc., 473
U.S. 479, 496, 105 S.Ct. 3275, 87 L.Ed.2d 346
(1985). In short, the commonality requirement is
easily satisfied =

EN28. The predicate acts alleged by
plaintiffs to constitute racketeering activity
on the part of the defendants are mostly
mailings and electronic communications
plead as violations of the mail and wire
fraud statutes. See Neder v. United States,
527 US. 1,20, 119 S.Ct. 1827, 144 L.Ed.2d

35 (1999).

FN29. While the Intervenors suggest that
some Lupron® purchasers might not have
been charged an AWP-based price or might
not have paid for Lupron® distributed to
doctors as “free” samples, plaintiffs’
evidence credibly demonstrates that virtually
every purchase of Lupron® during the class
period was influenced to one degree or
another by the defendants' manipulation of
the published AWP. Given the needle and
haystack problems that would be associated
with any attempt to cull out the minuscule
number of purchasers (if they in fact exist)
who did not pay for Lupron® based on
AWP or who did not receive a bill for a free
sample, the inclusion of all purchasers of
Lupron® in the class is an expeditious
means of insuring that all purchasers who
were affected by the scheme receive relief.

(c) Typicality

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{6] “A sufficient nexus is established [to show
typicality] if the claims or defenses of the class and
the class representative arise from the same event or
pattern or practice and are based on the same legal
theory.” Jn_re Terazosin Hydrochloride Antitrust
Litig,, 220 F.R.D. 672, 686 (S.D.Fla.2004) (finding
that representatives were typical of plaintiffs subject
to an overcharge for a prescription drug despite the
fact that class members paid for the overcharge in
different ways) (quoting Kornberg v. Carnival Cruise
Lines, Inc., 741 F.2d 1332, 1337 (ith Cir.1984)).
“Although [the plaintiffs] may not have suffered
identical damages, that is of little consequence to the
typicality determination when the common issue of
liability is shared.” In re Lorazepam & Clorazepate
Antitrust Litig., 202 F.R.D. 12, 28 (D.D.C.2001)
(finding representatives’ claims typical despite the
fact that some class members bought prescription
drugs directly while others bought from agents or
wholesalers at various rates) (quoting Lewis v. Nat'l
Football League, 146 F.R.D. 5, 9 (D.D.C.1992)).
Typicality is not a demanding test. Forbush v. J.C.
Penney Co., Inc. 994 F.2d 1101, 1106 (th

Cir. 1993).

Intervenors challenge the typicality of the claims of
the class representatives, relying on the briefs filed by
the defendants prior to the hearing on the certification
of a litigation class asserting that no class
representative actually paid for Lupron® at the
AWP. “The challenge is without merit. The court is
satisfied, based on the affidavits presented by the
MDL plaintiffs, that the Lupron® purchases of the
class representatives were impacted by TAP's
publication of an inflated AWP for Lupron®. The
class representatives, in common with all other class
members, claim to have been damaged by the
defendants' price manipulation scheme. They claim to
have been unaware of the fraudulent conduct in
which the defendants were engaged. They seek to
recover the maximum amount of damages possible,
as would any member of the class, and they seek to
do so under the civil RICO statute and state consumer
protection laws, as would most of the members of the
class. In sum, I find that the claims of the class
representatives*90 are typical of those of the
members of the class.

FN30. Intervenors additionally assert that
the class representatives are not typical of
class members who have claims based on
the diversion theory pressed by Intervenors'
counsel in the North Carolina state court

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action in that no class representative claims
to have been victimized by this alleged
scheme. The complaint filed in North
Carolina alleges that the Johnson & Johnson
companies are liable for conspiring with
TAP to sell excess Lupron® to doctors in
North Carolina, a “Least Costly Alternative”
(LCA) state, at a discount. The defendants
then allegedly allowed or encouraged
doctors to resell the surplus Lupron® in
non-LCA states at a profit, as a means of
preserving Lupron®'s market share at a time
when doctors were switching their patients
to Zoladex® because of LCA programs.
Assuming that these allegations are true,
they simply represent a variant in the overall
marketing scheme resulting in the same
generic injury-economic damages-suffered
by the class representatives. See Jn_re
Prudential Ins. Co. of Am, Sales Practices
Litig., 148 F.3d 283, 311-312 (3d Cir.1998)
(rejecting the argument that to satisfy the
typicality requirement, the class
representatives must share every form of
injury suffered by the class); City P'ship
100 F.3d. at 1044 (same).

(d) Adequacy

“The [adequacy] rule has two parts. The moving
party must show first that the interests of the
representative party will not conflict with the
interests of any of the class members, and second,
that counsel chosen by the representative party is
qualified, experienced, and able to vigorously
conduct the proposed litigation.” Andrews v. Bechtel
Power Corp., 780 F.2d 124, 130 (ist Cir.1985). “In
complex actions such as this one, named plaintiffs are
not required to ‘have expert knowledge of all details
of the case, ... and a great deal of reliance on the
expertise of counsel is to be expected.’ ” County of
Suffolk _y. Long Island Lighting Co., 710 F.Supp.
1407, 1416 (E.D.N.Y.1989) (citation omitted).

Intervenors challenge the adequacy of the class
representatives, but the challenge is lacking in
analysis, and for the most part appears to be the
product of sloppy investigation The Intervenors
first accuse the TPP representatives, Twin Cities
Bakeries and Beacon Health Plans, of being
“professional plaintiffs.” Even if the accusation is
true (no evidence suggests that it is), it has no
relevance to the competence of these TPPs to act as

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representatives of the TPP class. If anything,
experience with prior similar litigation and
knowledge of the legal issues involved enhances their
role as class representatives. Intervenors also
complain that the consumer representatives are
reluctant role players who lack knowledge of
allocation issues, the scope of the releases granted to
the defendants, and the settlement in general. These
allegations are not borne out by the record. Mrs.
Brickey, in her capacity as the executor of the estate
of William Brickey, submitted to a seven hour
deposition at the defendants’ request. There is nothing
surprising in the fact that Mrs. Brickey and Mrs.
Goetting, the widows of the original class
representatives, are unschooled in the intricacies of
the legal process or the complexities of prescription
drug pricing. They are, however, fully aware of the
circumstances in which their husbands purchased
Lupron®. During the Fairness Hearing, consumer
class representative William Porter (who is 78 years
old) gave a telephone deposition in which he
demonstrated a full understanding of the settlement
and the consequences of the release being offered to
the defendants. Intervenors also argue that a number
of potential conflicts exist among class members.
Those that are identified are illogical. Individual
differences in damages suffered do not create a class
conflict when recovery varies in direct proportion to
the amount of individual damages incurred. The fact
that a SHP may be able to pull into the SHPs group
benefit plans that it has a contractual right to
represent does not create a conflict by allowing a
SHP to “steal” from the TPP class. There is nothing
untoward about contracts for representation, and the
only likely effect of a SHP's exercise of the right to
appropriate a claim is the revenue-neutral shift of a
payment that would be made in any event from one
pool to the other. Also, unlike the situation in Jn re
General Motors Corp., 55 F.3d at 800-01, where the
class representatives were individual truck owners
whose interests were in conflict with unrepresented
fleet owners who received a less generous settlement,
the Lupron® class representatives include both TPPs
and consumer-purchasers. No objector has
complained of any disparity in the benefits negotiated
on behalf of consumer-purchasers and TPPs giving
rise to an intra-class conflict. Nor are there any
potential disparities in possible recoveries under state
law of a significant enough magnitude to warrant
separate state proceedings. In *91 sum, I find the
representation to be adequate.

FN31. With respect to the second

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component of the adequacy of
representation prerequisite, the Intervenors
make a rhetorical attack on the competence
of MDL plaintiffs' counsel, accusing them of
being “feeble,” “disarmed,” “ineffectual,”
and interested only in their fees, but without
citing anything by way of evidentiary
support for these insults (other than reckless
claims of conflicts of interest that were
exposed at the Fairness Hearing as false).
The court has previously found MDL
counsel to be highly competent and zealous
in their pursuit of the interests of the class.
Nothing said in the Intervenors' brief or
adduced at the Fairness Hearing would
cause the court to revise that finding.

FN32. Intervenors claim that certain MDL
plaintiffs’ counsel face ethical conflicts
because of their involvement in other drug
pricing cases. Intervenors, for example,
assert that the lead class counsel represents
the State of Nevada in a suit involving
similar Lupron® claims. In fact, the Nevada
lawsuit does not involve Lupron®, but other
drugs. A similar accusation that one of the
class counsel represented doctors suing
certain SHPs who were also plaintiffs in the
MDL action proved equally untrue.

(e) Predominance

“The Rule 23(b)(3) predominance inquiry tests
whether proposed classes are sufficiently cohesive to
warrant adjudication by representation.” Amchem
521 U.S. at 623, 117 S.Ct. 2231. “Predominance is a
test readily met in certain cases alleging consumer or
securities fraud or violations of antitrust laws.” Jd. at
625, 117 S.Ct. 2231. “Where ... common questions
predominate regarding liability, then courts generally
find the predominance requirement to be satisfied
even if individual damages issues remain,” for “[t]he
individuation of damages in consumer class actions is
rarely determinative under Rule_23(b)(3).” Smilow,
323 F.3d at 40. See also Tardiff v. Knox County, 365
F.3d 1, 6-7 (Ist _Cir.2004) (the certification of a
litigation class of individuals subjected to illegal strip
searches was not improper despite the fact that
individual damages would inevitably vary depending
upon each individual's claims of emotional distress,
lost wages, and medical bills). Similarly, “where
common issues otherwise predominated, courts have
usually certified Rule 23(b)(3) classes even though

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individual issues were present in one or more
affirmative defenses,” for “[i]f ... evidence later
shows that an affirmative defense is likely to bar
claims against at least some class members, then a
court has available adequate procedural
mechanisms.” Smilow, 323 F.3d at 39-40. See also
Waste Met., 208 F.3d at 296 (“Although a necessity
for individualized statute-of-limitations
determinations invariably weighs against class
certification under Rule 23(b)(3), we reject any per se
rule that treats the presence of such issues as an
automatic disqualifier.”); Zardiff, 365 F.3d _at 5
(noting that the probability that some members of the
class were lawfully strip searched did not defeat class
certification, since class members could be grouped
by the seriousness of the crime for which they were
arrested); Carnegie v. Household Int'l, Inc., 376 F.3d
656, 660-63 (7th Cir.2004) (Posner, J.) (affirming a
RICO class certification and suggesting procedural
mechanisms that at a later stage in the proceedings
could be used to address the issues of whether
particular class members were defrauded and the
extent of any corresponding damages).

Courts dealing with allegations of pricing fraud in an
analogous antitrust context have generally found
common issues to predominate despite individual
differences in amounts paid, the method of payment,
and potential knowledge of the fraud. See, e.g., in re
Linerboard Antitrust Litig, 305 F.3d 145, 163 3d
Cir.2002) (“Key questions will not revolve around
whether Appellees knew that the prices paid were
higher than they should have been or whether
Appellees knew of the alleged conspiracy among
Appellants. Instead, the critical inquiry will be
whether ‘defendants successfully concealed the
existence of the alleged conspiracy, which proof will
be common among the class members in each class.’
”) (citation omitted); Jn re Cardizem CD Antitrust
Litig., 200 F.R.D. 326, 345 (E.D.Mich.2001) (“The
courts have routinely rejected similar arguments,
despite differences in prices paid by class members,
where the plaintiffs show that the ‘minimum baseline
for beginning negotiations, or the range of prices
which resulted from negotiations, was artificially
raised (or slowed in its descent) by the collusive
actions of the defendants.” ”) (quoting Jn re
Commercial Tissue Prods., 183 F.R.D. 589, 595
(N.D.Fla.1998) (internal citations ~—_ omitted));
Terazosin, 220 F.R.D. at 694-700 (finding plaintiff
purchasers of drugs showed predominance of
common issues in a suit alleging increased prices
from antitrust conspiracy to prevent generic

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competition). But see Lienhart v. Dryvit Sys. Inc.,
255 F.3d 138, 147-49 (4th Cir.2001) (decertifying
class in part because of the possible contributory
negligence of contractors who may have failed to
follow instructions in installing defendant's house
siding product); Markarian v. Conn, Mutual Life Ins.
Co., 202 F.R.D. 60, 63-70 (D.Mass.2001)*92
(denying certification in part because despite
evidence that company may have encouraged
salespersons to use a misleading sales pitch,
determination of whether it was actually used in
particular cases would require individual inquiry).

Here, issues common to the class predominate over
those that are personal to class members. The core
factual issues involve the manner in which the
defendants marketed Lupron® to physicians; the
methodology of the Medicare and _private-payor
reimbursement systems; the effect of competition
from Zoladex® on Lupron®'s market share; and the
impact of the defendant's marketing scheme on the
actual price of the drug. As previously observed, the
need to establish the elements of a civil RICO claim-
the conduct of an enterprise through a pattern of
racketeering activity-poses mixed issues of fact and
law common to the class. Individual issues, on the
other hand, primarily involve the amount of damages
to be awarded to individual class members, a factor
disfavored in determining predominance. While the
extent to which individual class members were aware
of the defendants' marketing scheme might weigh
against certification, particularly in the case of the
larger insurers that were arguably aware that the
AWP for Lupron® was an artificial number, these
entities are part of the SHPs group that has settled
outside of the class“? Thus, this issue does not
create individual predominance.

FN33. Intervenors finally note some
differences in the state consumer protection
laws plead by various members of the class.
These differences, however, do not pose a
serious obstacle to certification. See /n_re
Prudential Ins. Litig, 148 F.3d at 315
(“Courts have expressed a willingness to
certify nationwide classes on the ground that
relatively minor differences in state law
could be overcome at trial by grouping
similar state laws together and applying
them as a unit.”); Mowbray, 208 F.3d at 292,
296-297 (variations in twenty states’ laws
concerning reliance, waiver, and statutes of
limitations did not cause individual issues to

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predominate). In any event, the issue is one
of manageability, which is not a
consideration in the certification of a
settlement class. See Amchem, 521 U.S. at
620, 117 §.Ct. 2231.

(f) Superiority

Rule 23(b)(3) requires a class action to be “superior
to other available methods for the fair and efficient
adjudication of the controversy.”

The matters pertinent to the findings include: (A) the
interest of members of the class in individually
controlling the prosecution or defense of separate
actions; (B) the extent and nature of any litigation
concerning the controversy already commenced by or
against members of the class; (C) the desirability or
undesirability of concentrating the litigation of the
claims in the particular forum; (D) the difficulties
likely to be encountered in the management of a class
action.

Id“In adding ‘predominance’ and ‘superiority’ to the
qualification-for-certification list, the Advisory
Committee sought to cover cases ‘in which a class
action would achieve economies of time, effort, and
expense, and promote ... uniformity of decision as to
persons similarly situated, without sacrificing
procedural fairness or bringing about other
undesirable results.’ ” Amchem, 521 U.S. at 615, 117
S.Ct. 2231. “{A] class action has to be unwieldy
indeed before it can be pronounced an inferior
alternative-no matter how massive the fraud or other
wrongdoing that will go unpunished if class treatment
is denied-to no litigation at all.” Carnegie, 376 F.3d
at 661.

The superiority analysis dovetails with the
predominance analysis. The issue here is one that lies
at the very heart of the invention of the class action as
a litigation vehicle: few, if any, members of the
settlement class have incurred damages in an amount
sufficient to justify the costs of pursuing an
individual action. That fact alone makes a class
action the only means by which most class members
can obtain redress. Even if the claims could be
prosecuted individually, their sheer number would
make it unlikely that any significant number would
be resolved during the lifetimes of the consumer class
members. The court finds that under the
circumstances, a class action is superior to any other
mechanism for adjudicating this case (including

joinder) 4

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FN34, In the court's experience, joinder of
parties for trial in numbers above two dozen
is unworkable.

*93 (g) Ascertainability of the Class

[7] “The proposed class must be precisely defined
and its members must be ascertainable through the
application of ‘stable and objective factors’ so that a
court can decide, among other things, ‘who will
receive notice, who will share in any recovery, and
who will be bound by the judgment.’ ” Van West v.
Midland Nat'l Life Ins. Co. 199 E.R.D. 448, 451
(D.R.1.2001) (finding insufficiently definite a class of
persons harmed by the unspecified “wrongful
conduct” of defendant's sales agents, whose practices
differed from transaction to transaction). Compare
Crosby v. Soc. Sec. Admin., 796 F.2d 576, 580 (1st
Cir.1986) (finding that a class of disability benefits
claimants who did not receive a hearing “within a
reasonable time” was impossible to ascertain in any
objective fashion); Jn re Copper Antitrust Litig., 196
F.R.D. 348, 358-360 (W.D.Wis.2000) (finding that
the class was unascertainable where indirect
purchasers had no means of knowing if they had been
harmed) with Lorazepam, 202 F.R.D. at 22-25
(finding that the complexities of the pharmaceutical
market did not make purchasers of drugs
unascertainable, and collecting cases certifying
classes of direct purchasers in complex markets).

Intervenors make three challenges to ascertainability.
First, they argue that self-funded plans might not
know if they are members of the class. Second, they
argue that the class period post-dates the notice, so
that some persons who purchase Lupron® after the
notice period may not know that they are in the class.
Even if these persons learn of the class, Intervenors
argue, they may do so after the March 15 deadline for
objections and with a limited opportunity to opt out.
Third, they argue that the class is “sprawling,”
making it difficult to ascertain the appropriate time
frame and to differentiate included from excluded
entities.

The first argument is without merit. A self-funded
plan may determine whether it has the right to file a
claim in its own name, or whether the right belongs
to the SHP that administers claims on its behalf, by
simply reviewing its contract with the SHP. The
second argument has no relevance to ascertainability,

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but is rather concerns the sufficiency of the notice
given to members of the class. The third argument is
entirely unsupported by analysis, and is on its face
unpersuasive. The inclusion of “all purchasers” rather
than purchasers who paid in reference to AWP makes
purchasers easier, not harder, to ascertain, while the
opening and closing dates of the class could not be
set out any more clearly than they are in the class
definition.

FAIRNESS DETERMINATION
General Considerations

[S1[9][10][11] While the factors to be considered in
making a fairness determination pursuant to Rule
23(e) often overlap with the class certification
requirements of Rule _23(a) and _(b), a court is
required to analyze fairness as a separate and distinct
issue. Rule 23(e)“was designed to function as an
additional requirement, not a superseding direction,
for the ‘class action’ to which Rule 23(e) refers is one
qualified for certification under Rule 23(a) and (b).”
Amchem, 521 U.S. at 621, 117 S.Ct. 2231. While
settlement and compromise are favored by the law,
the court has a fiduciary duty to absent members of
the class in light of the potential for conflicts of
interest among class representatives and class counsel
and the absent members. “Rule 23(e) imposes on the
trial judge the duty of protecting absentees, which is
executed by the court's assuring the settlement
represents adequate compensation for the release of
the class claims.” Jn_re General Motors Corp., 55
F.3d at 805. Approval is to be given if a settlement is
untainted by collusion and is fair, adequate, and
reasonable. “When sufficient discovery has been
provided and the parties have bargained at arms-
length, there is a presumption in favor of the
settlement.” City P'ship, 100 F.3d at 1043. While the
First Circuit has not established a formal protocol for
assessing the fairness of a settlement, other circuits
have identified factors deemed appropriate for
consideration. The most commonly referenced
factors were identified by the Second Circuit in City
of Detroit _y. Grinnell Corp. 495 F.2d 448 (2d
Cir,1974), overruled on other grounds by Missouri v.
Jenkins, 491 U.S. 274, 109 S.Ct. 2463, 105 L.Ed.2d
229 (1989):

*94 (1) the complexity, expense and likely duration
of the litigation; (2) the reaction of the class to the
settlement; (3) the stage of the proceedings and the
amount of discovery completed; (4) the risks of
establishing liability; (5) the risks of establishing

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damages; (6) the risks of maintaining the class action
through the trial; (7) the ability of the defendants to
withstand a greater judgment; (8) the range of
reasonableness of the settlement fund in light of the
best possible recovery, (9) the range of
reasonableness of the settlement fund to a possible
recovery in light of all the attendant risks of
litigation.

Id. at 463 (citations omitted). As a prelude to
consideration of each of each of these factors, the
court will briefly describe the negotiations that
produced the proposed settlement and the principal
objections tabled by the Intervenors, and principally
the allegation that this is a collusive settlement.

[12][13] The storm warnings indicative of collusion
are a “lack of significant discovery and [an]
extremely expedited settlement of questionable value
accompanied by an enormous legal fee.” /n_re
General Motors Corp. 55 F.3d at 801. The
successful negotiations that led to this settlement
were consummated relatively quickly (they appear to
have been concluded in one or two days). However,
the negotiations must be viewed in the context of the
litigation as a whole == The successful negotiation
built on an earlier, three-month attempt to reach a
settlement in 2003. The negotiations were not
bilateral. MDL counsel wisely chose to secure
separate and independent representation for the two
distinct subclasses, the consumer-purchasers and the
TPPs. At the Fairness Hearing, the court heard the
testimony of Gregory Cox, the lead counsel in the
Texas Lupron® action, and Stephen Rosenfeld, an
attorney with extensive experience in pharmaceutical
litigation (who is not affiliated with the MDL
steering committee). Cox and Rosenfeld were
designated to represent consumers in the
negotiations. Operating on the assumption that the
consumer share of the damages might amount to at
most 15 percent of the total damages, Rosenfeld
testified that his (and Cox's) primary objective was to
maximize their percentage recovery from the
settlement fund. The achievement of that objective
over the resistance of the more powerful SHPs group
is strong evidence of the arms-length nature of the
negotiations. A secondary objective of the consumer
representatives, insuring that any unclaimed funds
did not revert to TAP, was also achieved.

FN35. One of the concerns with so-called
“drive by” class actions is that the court
called upon to certify the class and approve

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the settlement is presented with a fait
accompli and has no independent means of
verifying the lawyers’ representations. Here,
several years of hotly contested litigation
has educated the court in the factual and
legal intricacies of the case and the relative
strengths and weaknesses of the parties'
respective positions.

Intervenors' criticism is directed less at the
percentage of the allocation of the fund to consumers
than at the size of the fund itself, which they contend
would be larger but for a “reverse auction”
orchestrated by the defendants. The only support
offered for this allegation is the affidavit of Geoffrey
Miller, a New York University law professor, which
while instructive on the theory of reverse auctions,
disavows any familiarity with the negotiations in this
case. Intervenors' stronger argument is that the
impetus to settle on defendants’ part arose from the
impending Walker trial in New Jersey (where
attorney Haviland serves as lead counsel), and that
the defendants found the MDL steering committee to
be a more pliant negotiating partner than Kline &
Specter as the latter would have insisted on a larger
settlement fund in exchange for a release. This would
be a persuasive argument if it were true. | credit
defendants' representation that the global peace that
they desired could never have been negotiated with
Kline & Specter. The firm represents less than 5
percent of the national pool of consumer-purchasers
and more critically, almost none of the TPPs, the
entities with claims of 90 percent of the damages. As
a consequence, a settlement with Kline & Specter
was never considered a realistic alternative, and
hence no global negotiations were ever undertaken
with the firm.

Intervenors' final substantive objection is that the
release agreed to by MDL counsel is *95 broader
than warranted by the size of the settlement.
Intervenors offered two witnesses on the subject, Ms.
Samsell, who is involved in a dispute with her insurer
over coverage for Lupron®, and Steven Rowan, a
prostate cancer patient who appears to have been the
victim of fraudulent billing by his treating clinic.
Both witnesses had been told by Kline & Specter that
the release would extinguish their claims. An
attorney appearing for Robert Swanston, the class
representative in the Arizona action, argued that the
release given to TAP might conceivably be
interpreted as immunizing other pharmaceutical
companies which Swanston alleges conspired with

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TAP in the manipulation of the AWP of other drugs.
As to the first two issues, MDL counsel agree that the
only claims extinguished by the release are those
related to defendants' marketing, pricing, and sale of
Lupron® The release would have no affect on
insurance coverage disputes or on overcharging
claims unrelated to TAP's conduct. Insofar as
Swanston is concerned, the release of TAP would
have no affect on the liability of any alleged
coconspirator. It has always been the law that a
legally immune party may be part of an actionable
conspiracy “See, e.g., Standefer_v. United States,
447 U.S. 10, 15-21, 100 S.Ct. 1999, 64 L.Ed.2d 689
(1980). While the issue of the release of physicians
who prescribed Lupron® was not a subject of
testimony at the Fairness Hearing, it is touched upon
in the Intervenors' brief. However, as MDL counsel
point out, their RICO enterprise theories involving
physicians were dismissed by the court as either
failing the RICO tests of association, organization
and control, or if brought individually against 10,000
urologist enterprises as totally impracticable and
unmanageable. Jn re Lupron® Litig., 295 F.Supp.2d
at 173-174 & n. 27. Consequently, MDL plaintiffs’
counsel state, and correctly so, that in releasing the
claims against the urologists, they gave up little of
consequence. “8

FN36. I agree with Intervenors that as
written the release does not make the point
as clearly as did MDL counsel at the
Fairness Hearing that it is intended to cover
only conduct related to defendants’ alleged
fraudulent activity in marketing Lupron®. |
will ask that the Proposed Final Judgment
clarify the scope of the release in this
respect.

FN37. Intervenors also complain of the
absence of prospective injunctive relief
barring TAP from engaging in similar
overpricing in the future. I agree with the
MDL parties that the Corporate Integrity
Agreements entered by TAP with the United
States Government and the State Attorneys
General make any such relief redundant.

FN38. MDL counsel also note that neither
Intervenors' counsel nor anyone else has
actually brought a direct claim against a
urologist.

The Grinnell Factors"?

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FN39. I have not considered one of the
traditional Grinnell factors, the risks of
maintaining the suit as a class action through
trial. As Judge Scirica observed in Jn_re
Prudential Ins. Litig., 148 F.3d at 321, this
factor is largely irrelevant in settlement-only
cases as Amchem does not require a
manageability inquiry in a_ settlement
context.

(a) the complexity, expense and likely duration of the
litigation

The continued litigation of the case would be
noxiously burdensome to all involved, given the
twenty year duration of the alleged RICO conspiracy,
the involvement of a foreign party (Takeda), and the
differing orders of proof required to establish (or
defeat) the claims of the consumer and TPP
subclasses. MDL plaintiffs’ counsel report having
incurred over $14 million in fees and over $1 million
in costs to date. I have to assume that the costs
incurred in defending the case are of a similar
magnitude and are compounded by the rearguard
skirmishes being fought with Kline & Specter. These
costs and fees would escalate precipitously if the case
were to be litigated through certification of a
litigation class, summary judgment and the two or
four trials (depending on the bifurcation of liability
and damages as between the two subclasses) that
would be required to achieve a comprehensive
verdict. This process would reasonably take another
two to three years to complete, and at least another
year to resolve on appeal. Given the fact that many in
the consumer claimant class are elderly and/or ill, it
is in the interest of this subclass to bring the litigation
to a closure, particularly one that allows a distribution
of damages, as expeditiously as possible.

*96 (b) the reaction of the class to the settlement

Absent polling data, which is not available to the
court, this factor can be analyzed only by comparing
the number of objectors and opt outs with the number
of claimants, and by assessing the extent to which
notice effectively reached absent class members. As
of May 9, 2005, 10,614 consumer claims had been
filed with the Claims Administrator. To date 7,123 of
these claims have been processed for a total claimed
amount of $15,320,831.81. The only significant
number of opt outs are persons who have been

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excluded from the settlement by Kline & Specter

Most of the these persons are residents of states in
which the firm has no Lupron® action pending. Only
forty-nine persons unaffiliated with Kline & Specter
have opted out of the settlement on their own
initiative and only ten persons submitted objections
(several of whom are associated with Kline &
Specter). “See In re Prudential Ins, Litig., 148 F.3d
at 318 (in assessing the weight of the objections, the
district court properly considered the fact that the
most vociferous objectors were persons enlisted by
counsel competing with MDL counsel for control of
the litigation). As previously indicated, the SHPs, the
parties with the largest claim to damages, but also the
group most vulnerable to defendants’ affirmative
defenses, have settled separately with defendants. Of
the TPP class members, 880 have submitted claims,
of which 286 have been processed for a total claimed
amount of $39,160,604.89. None of the TPPs has
objected to the settlement, and of the some 235,000
TPPs who received mail notice, only fourteen have
elected to opt out. Finally, six state Attorneys
General purported to exercise opt outs on behalf of
the citizens of their states who are otherwise qualified
as members of the consumer-purchaser class.
With respect to the effectiveness of notice, in the
absence of any evidence to the contrary, | accept the
testimony of Todd Hilsee that the plan he designed
achieved its objective of exposing 80 percent of the
members of the consumer class on three or more
occasions to notice of the proposed settlement and
the procedure for submitting claims, and of providing
direct written notice to all TPPs that might be
affected by the settlement. | have examined the
materials that were used to publicize the settlement,
and I agree with Hilsee's opinion that they complied
in all respects with the “plain, easily understood
language” requirement of Rule 23(c). In sum, | find
that the notice given meets the requirements of due
process.

FN40. The Claims Administrator has
received several letters from attorney
Haviland purporting to exercise blanket opt
outs on behalf of 783 (or as many as 978)
consumers who are said to be clients of
Kline & Specter. (The exact number is
difficult to ascertain as the lists submitted by
attorney Haviland are inconsistent). See
Supplemental Decl. of Thomas R. Glenn.
Some of the consumers on various of the
lists have independently filed claims with
the MDL Claims Administrator. The MDL

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parties have asked that the court either strike
the Haviland opt outs and give each person
affected an opportunity to decide personally
whether or not to join the MDL class, or at a
minimum, that the court require Kline &
Specter to submit proof that attorney
Haviland has the authority to exercise the
exclusions on each individual's behalf.

EN4L. As previously noted, the objection of
Paula Treskow was withdrawn prior to the
Fairness Hearing. After hearing the
uncontradicted statements of MDL counsel
that no consideration was given in exchange
for withdrawal of the objection, and that the
objection was withdrawn on the merits after
Treskow and her attorney had the
opportunity to review the settlement
documents in depth, the court will give its
approval for the withdrawal as required by

Rule 23(e)(4)(B).

FN42. This matter is in the process of being
separately briefed after the court questioned
the authority of the Attorneys General to act
on behalf of private citizens without their
express consent. It would appear now that at
least some of the Attorneys General have
come to the view that the court's scepticism
is well-taken.

(c) stage of the proceedings and the amount of
discovery completed

As the procedural history of the case outlined earlier
makes clear, the case was in litigation for nearly four
years before the settlement was reached. Some 500
boxes of documents totaling over a million pages had
been produced by the defendants for review. Twenty-
six depositions had been taken, including depositions
of TAP's senior management. Discovery has been
sufficient to give *97 counsel an informed view of
the strengths and weaknesses of plaintiffs' case. More
impressive, however, than the sheer volume of
documents reviewed and depositions taken is the
skillful use that MDL plaintiffs' counsel have made
of that discovery in fending off aggressive and
equally skillful motions brought by defendants,
several of which had the potential of collapsing the
plaintiffs’ case.

(d) the risks of establishing liability and damages

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[14] As any experienced lawyer knows, a significant
element of risk adheres to any litigation taken to
binary adjudication. With respect to establishing
liability, plaintiffs’ principal risks arise from: (1) the
complexity of the case; (2) the difficulty of
establishing any uniform practice in the actual use of
the AWP in marketing Lupron®, particularly
Lupron® sold through TPPs pursuant to negotiated
contracts; (3) the difficulty of deflecting defenses
based on imputed knowledge that the AWP was
subject to manipulation by the defendants, as well as
apparent government ratification of the defendants’
conduct; and (4) related statutes of limitations
defenses The plaintiffs face formidable, albeit
not insurmountable obstacles in presenting to a lay
jury a clear, and yet legally sufficient, narrative of the
evidence“ while defendants have a powerful
argument that the AWP was known to Congress and
large insurers to be an artificial benchmark with no
real market significance ™“ Proving damages
represents two significant risks to the consumer class:
(1) a number of consumers (or their estates) would
likely no longer have records available to prove the
extent of their Lupron® purchases; while (2) those
consumers who made flat co-payments for
prescription drugs might be found to have suffered no
damages at all, as a co-payment is a fixed fee that
does not vary with the price of the drug in question.
The TPPs, on the other hand, which account for the
lion's share of the damages, were the most likely to
have been aware of the manipulation of AWP by
TAP and therefore the most vulnerable to TAP's
knowledge defense.

FN43. In noting the risks, the court is not
passing judgment on the ultimate outcome.
A settlement court reviewing the fairness of
a compromise does not “decide the merits of
the case or resolve unsettled legal
questions.” Carson v. Am. Brands, Inc., 450
U.S. 79, 88 n. 14, 101 S.Ct. 993, 67 L.Ed.2d

59 (1981).

FN44. While the standard of proof in a
criminal case is much higher than in a civil
one, it cannot go unremarked that the
government failed to win a single conviction
in its trial of some dozen TAP executives
and employees who were indicted for their
roles in the marketing of Lupron®.

FN45. This consideration appears to have

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led the government to abandon an AWP-
based criminal prosecution of TAP and to
substitute instead the allegations of “free
sample” fraud to which TAP pled guilty.

(e) ability of the defendants to withstand a greater
judgment

This defendant-oriented factor is largely neutral as
there seems little doubt that TAP and its venture
partners (Takeda and Abbott) are defendants with
classic deep pockets.

(f) the amount of the settlement fund in contrast to
the best possible recovery

In applying this test of reasonableness, “the present
value of the damages plaintiffs would likely recover
if successful, appropriately discounted for the risk of
not prevailing, should be compared with the amount
of the proposed settlement.” Jn_re General Motors
Corp., 55 F.3d at 806 (quoting Manual § 30.44).
Measured against the civil recovery from TAP
obtained by the government under the threat of
debarment, the proposed settlement is roughly
commensurate in size. More importantly, the
sufficiency of the allotment to the consumer fund,
which was initially difficult to judge because of the
lack of claims experience and uncertainty as to the
size of the ultimate claimant pool, now appears more
than adequate to fully compensate all consumer
claimants and to perhaps pay a dividend. While it is
possible to hypothesize about larger amounts that
might have been recovered,“ as do Intervenors,
*9§ Judge Becker counsels: “[t]he evaluating court
must ... guard against demanding too large a
settlement based on its view of the merits of the
litigation; after all, settlement is a compromise, a
yielding of the highest hopes in exchange for
certainty and resolution.” Jn re General Motors
Corp., 55 F.3d at 806. Based on Dr. Hartman's and
Dr. Rosenthal's analysis of the likely damages, the
opinions of experienced MDL counsel, and my own
determination that the risks plaintiffs face in
establishing a viable litigation class outweigh any
potential benefit to be gained by further litigation, I
find that the proposed settlement lies within the range
of reasonableness.

EN46. Intervenors’ counsel are consistently
inconsistent in their evaluation of what
might optimally be recovered, ranging from

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$300 million with a 50 percent chance of an
adverse result to literally billions of dollars
with no risk whatsoever.

ATTORNEYS' FEES AND COSTS

Under the terms of the Settlement Agreement, and
subject to the court's approval, class counsel may
seek reasonable attorneys’ fees not to exceed 30
percent of the $95,000,000 settlement fund (after
deducting any amount that might be rebated to TAP
because of TPP exclusions). MDL class counsel
have petitioned the court for an award of attorneys’
fees in the amount of $23,750,000 and for
reimbursement of $1,822,754.71 in costs “8 The
court finds the fee request to be within the range of
reasonableness, given the duration and intensity of
the litigation, and the results achieved * It will,
however, defer making specific findings until all
outstanding motions are resolved and final judgment
is entered. The award of attorneys’ fees will in any
event not exceed 25 percent of the settlement fund,
and should the court award less, it will order any
surplus to be paid into the appropriate pool. Class
counsel also request that the court approve modest
incentive awards totaling $100,000, including $5,000
to be paid to each named consumer plaintiff who was
deposed, $2,500 to be paid to each named consumer
plaintiff who was not deposed, and $25,000 to be
paid to each of the named TPP plaintiffs. Incentive
awards are recognized as serving an important
function in promoting class action settlements,
particularly where as here, the named plaintiffs
participated actively in the litigation. Denney_v.
Jenkens & Gilchrist, 2005 WL 388562, at *31
(S.D.N.Y. Feb.18, 2005). Consequently, I will
approve the awards as requested.

EN47. Despite the terms of the Settlement
Agreement, class counsel have agreed that
the collective request for fees will not
exceed 25 percent of the settlement fund.

FN48. The lodestar as of the date the
petition was filed, April 6, 2005, amounted
to $14,503,055.50, meaning that class
counsel were seeking an award at a
multiplier of 1.64, a number that will shrink
as additional hours are expended
implementing the settlement. The court
takes no position for present purposes as to
the appropriateness of the requested
multiplier.

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EN49. At the Fairness Hearing, MDL
counsel and TAP suggested that any excess
funds in the consumer pool be used to
increase the percentage of the recovery
allocated to consumer-purchasers, to provide
for additional notice and further distribution
to absent class members, or to fund a cy pres
award to benefit the consumer class as a
whole.

ORDER
For the foregoing reasons, the court will:

(1) OVERRULE the objections to the settlement class
and the proposed settlement,

(2) APPROVE the withdrawal of the Treskow and
Marcus objections pursuant to Rule 23(e)(4)(b);

(3) CERTIFY the proposed class, the court having
found that the class satisfies the prerequisites of
Rules 23(a) and (b);

(4) APPROVE the proposed settlement as fair,
reasonable, and adequate for purposes of Rule 23(e),

(5) APPOINT interim class counsel as permanent
class counsel pursuant to Rule 23(g)(1 (A);

(6) APPROVE the award of incentive fees to the
named class plaintiffs;

(7) DEFER acting on the petitions for attorneys’ fees
and costs until all outstanding motions are resolved,
including any involving disputes over the allocation
of an attorneys' fee award; and

(8) ORDER MDL counsel to submit a joint proposed
form of final judgment within *99 thirty (30) days of
the court's resolution of all outstanding motions other
than those concerning the award of attorneys’ fees
and costs.

SO ORDERED.

D.Mass.,2005.
In re Lupron Marketing and Sales Practices Litigation
228 F.R.D. 75, RICO Bus.Disp.Guide 10,888

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